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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

LISA BROOKS,                           )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )        Case: 2:18-cv-02278-JPM-cgc
                                       )
WESTLAKE FINANCIAL SERVICES, LLC,      )
                                       )
      Defendant.                       )
______________________________________________________________________________

                                 JUDGMENT
______________________________________________________________________________

JUDGMENT BY COURT. This action having come before the Court on Defendant’s Motion
to Dismiss, or, in the Alternative, to Stay Litigation and Compel Arbitration, filed on August 15,
2018 (ECF No. 21), and the Court having entered an Order Granting Motion to Dismiss and to
Compel Arbitration (ECF No. 25),

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
the Order Granting Motion to Dismiss and to Compel Arbitration, this action is DISMISSED.

APPROVED:
 /s/ Jon McCalla
JON P. McCALLA
UNITED STATES DISTRICT JUDGE

 10/17/18
Date
